FILED .

.I ames E. Shelton

316 Covered Bridge Road \ JUL ~ 6 2018 DB
King of Prussia, PA 19406 U 8 DIS~ ,

' _‘ TR_ICT `
(484) 626-3942 MIDDLE DISTQI COURT ,
james@i"lnalverdictsolutions.com * CT-OF TN, 7
Plaintiff, Pro Se

IN THE UNITED STATES DISTRICT COURT
lN AND FOR THE MlDDLE DISTRICT OF TENNESSEE

 

CRAIG CUNNINGHAM )
Plaintiff, ) Civil Action
)
v. ) No. 3:15-cv-00847
ENAGIC USA, INC., et. al )
Defendants )

 

RESPONSE IN OPPOSITION TO DEFENDANT SUSIE TREMBLAY-BROWN’S
MOTION TO SET ASIDE DEFAULT JUDGMENT

Assignee of Record JAMES E. SHELTON (hereinafter “Assignee”) respectfully submits
this response in opposition to Defendant Susie Tremblay Brown’s Motion to Set Aside Default
Judgment.

ln this Telephone Consumer Protection Act ease, Defendant Susie Tremblay-Brown, also
known as Lavenia Sue Brown, has accused Plaintiff Craig Cunningham of committing a fraud
upon the Couit. Brown claims she was never served, and on this basis, asks the Court to set aside
the Default judgement In an attempt to distract the Court from the factual circumstances of the
case, Brown launches an attack on the Plaintiffs character, attempting to frame him as a
“professional plaintiff’ and calling the claims in this matter “fraudulent”. This is a red herring
Brown pretends to have had no knowledge about this action and unconvincingly claims she
"recently” found out about the matter when her bank account was seized 166 days - almost a full
half year - before she filed this Motion to Set Aside. More importantly, and fatal to her

credibility, Brown has submitted a false statement to this Court in her sworn declaration, wherein

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she claims to have had no knowledge of this lawsuit prior to 2018, when her bank account was y
levied. Brown also claims untruthfully to have no relationship to the address which service of
process was made, 925 Lakeville St #223, Petaluma, CA 94952. These false statements destroy
Brown’s defence and credibility For the following reasons, Brown’S Motion to Set Aside should
be DENIED.

Firsl, Ms. Brown was properly served on September 26, 20l5 to an address at which she
and her family receive mail, in accordance with Tennessee Rules of Civil Procedure and Federal
Rules, which authorize service in this manner. Jeffrey Howard admitted that his mailing address
was 925 Lakeville Dr. # 233, Petaluma, CA 94952 in his answer dated GCtober 19, 2015. Jeffrey
Howard and Ms. Brown were living together as of August 19, 2015, according to Facebook posts
issued by Ms. Brown, Even if the Court finds Ms. Brown’s affidavit that she never received mail
at this address to be credible, Jeffrey Howard was an individual of suitable age and discretion
living in the same household as Susie Tremblay-Brown; therefore, service upon Jeffrey Howard
constitutes valid service upon Susie Tremblay-Brown.

Second, in Novernber 2015, Ms. Brown admitted in a chargeback dispute that she knew
that Plaintiff was suing her. Ms. Brown clearly knew she was being sued by Plaint.iff because she
Was properly served

Third, Lavenia S. Brown herself signed the Certifrcate of Service stating that she served
the answer of her boyfriend, co- defendant Jeffrey Howard, to Plaintiff’ s Amended Complaint on
Gctober 16, 2015, further admitting that she had seen the complaint and had actual knowledge of
the lawsuit and her role as a named defendant

Fow'th, l\/Is. Brown’s bank account was frozen due to a levy on or about January 6, 2018,

thereby giving her very real knowledge of the judgement against her. Despite this, she did not

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promptly or diligently appear in this Court to defend for 166 days, and there is no good reason
for this substantial delay.

Fift/z, l\/Isv Brown’s conduct has been entirely evasive, dishonest, and culpable, which
warrants denial of relief from entry of default and default judgement. Brown lies about her
address and lies about not knowing about the lawsuit

BR()WN’S RELATIONSHIP WITH JEFFREY HOWARD

ln actuality, Brown is lying that she never knew about this lawsuit, and is lying when she
says she was not served properly. Brown was served by certified mail, return receipt requested at
925 Lakeville St #223, Petaluma, CA 94952 on September 26, 20l5. See ECF No. 26, (Proof of
Service of summons and complaint upon Susie Tremblay-Brown), attached as Exhibit A.

Brown is a co-defendant in this lawsuit with Jeffrey Howard, who was named in his individual
capacity as well as his company, Corazon Management Group, Inc ’.

On September 26, 2015, at the time when the summons and complaint were served to
Brown in Califomia, Brown and Jeffrey Howard were dating and cohabitating. On August 19,
2015, Ms. Brown made a Facebook poston her public profile stating “So it has been a big week
for our family! Jeffrey Howard and I have combined families We are super excited about our
future as a family together. Although we are knee deep in boxes, each day our house is becoming
a home. We are thrilled to be engaging in the next stage of our lives together! l! Thank you for

your support and well wishes. More announcements to come. VX'X.” This Facebook post, as

well as a number of other posts made by Ms. Brown and Jeffrey Howard, are attached as

exhibits. Defendant Jeffrey Howard “liked” Ms. Brown’s post and he was “tagged” in that

 

' Jeffrey Howard in his individual capacity was dismissed without prejudice by plaintiff
However, Corazon Management Group, lnc. remains a judgement debtor in this matter.

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Facebook post by Ms. Brown. Other pictures show Ms. Brown and Mr. Howard going'on various
dates, including to a San Francisco Giants baseball game, kissing, and attending various events
together. There is no question that the two were in a romantic relationship

Beyond this - co-Defendant Howard received service of this lawsuit in the same manner
and filed an Answer to the Plaintiff’s Arnended Complaint, which was dated October 15, 2015
and filed with the court on October 19, 2015 . See ECF No. 25, attached as Exhibit C. Mr.
Howard’s Answer includes Susie Tremblay~Brown in the caption as a defendant on page one
(although the Answer does not purport to Answer on behalf of or for Susie Tremblay-Brown).
Mr. Howard admits in his Answer in 11 2 that his mailing address is 925 Lakeville St #223,
Petaluma, CA 94952, the same address ln Mr. Howard’s Answer, Mr. Howard also explains
Susie Tremblay-Brown’s role in his business venture and her “relationship” to this matter. See 11
54.

Lavenia S. Brown herself signed the Certif“lcate of Service of Jeffrey Howard’s Answer to
Plaintiff’s Amended Complaint on October 16. 2015

ln direct contravention to her sworn declaration stating that she had no knowledge of the
lawsuit until her bank account was seized, Ms. Brown admits in a signed pleading that she knew
about the lawsuit on, if not earlier than, October 16, 2015. On the final page of Mr. Howard’s
answer, Lavenia S. Brown (also known as Susie Tremblay-Brown) signed the Certificate of
Service dated October 16, 2015, stating that she mailed Mr. Howard’s answer to the amended
complaint via U.S. Mail, postage prepaid, to several other appearing parties in the matter,
including the Plaintiff, Craig Cunningham. Lavenia S. Brown’s signature and statement that she
mailed the Answer to the Plaintiff unquestionably indicates that she had actual knowledge of the

lawsuit and that she had been named as a defendant by Mr. Cunningham. Moreover, Mr.

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Howard’s answer shows “Susie Tremblay-Brown” listed as a named defendant on page one in
the caption.

Ms. Brown cannot credibly claim that she had no knowledge of the lawsuit Evidently,
she is either lying now, or was lying then, and in either case committed a perjurious fraud upon
this Honorable Court. Even ifBrown denies receiving service of the complaint, an argument
which the Court should find without merit or credibility, and even ifBrown had not read the
actual lawsuit which she had been served (which is not an excuse for failing to respond to service
of a summons and complaint), she only had to look at the first page to see that she had been
named as a defendant, along with her boyfriend and business partner, Mr. Howard. The point is
Brown was properly served and had actual knowledge of the lawsuit

This is unquestionably a strange situation - one defendant signing a certificate of service
for another defendant’s answer to the amended complaint - but it is completely plausible Brown
was simply helping out her boyfriend and business partner Jeffrey Howard. Unless there is
another mysterious Lavenia S. Brown hiding in the shadows that signed J eff Howard’s certificate
of service, the signature on the Certificate of Service is definitely the defendant’s signature
Defendant carr lie to herself and her attomey, but her own signature unravels her testimony in
one swift stroke of a pen.

Ms. Brown Admitted She Knew Plaintiff was Suing Her on or prior to November 24.. 2015
ln order to find out the identities of those responsible for placing the autodialed phone
calls in this case, Plaintiff gave Susie Tremblay~Brown his debit card information See Affidavit
of Craig Cunningham, 1]2. Plaintiff’ s account ending in 6188 was charged $156.00 by Susie
Tremb|ay~Brown on September 4, 2015. Plaintiff subsequently initiated a chargeback with Bank

of Arnerica for this amount Brown opposed the chargeback, writing a lengthy rebuttal in or

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about early November 2015 . In her rebuttal arguing that the $156.00 charge should not be
reversed, Brown admits she knew Plaintiff was suing her. Brown stated: "He agreed to pay me
$156. 00 to set up an auto dialing marketing system for him using a company called phone
prospector and another called 800L1`nk. T his marketing system is used to market a business
Callea’ Enagic Water.

That day 1 learned that Craig Cunningham was suing the people who sold him the Enagic
business in a Federal law suit l have done hundreds of these set ups for those without the ability
or time to do so on their own. lt was Craig Cunningham 's lack of cooperation response, and his
unethical intention to dupe the people l work with as well as use me as a way of gaining
information on the people he was about to sue.

When 1 learned that Craig Cunningham was suing the people who sold him the Enagic business
in a F ederal law suit, l found out he was trying tofina' me to sue me too. Craig Cunningham
targeted and sought after every person named in his frivolous law suit, he claimed that they
called him illegally on his personal cell phone using a marketing dialer system and that was the
bases for his case. He used my services and time to gain information on the people he as about to
sue. ”

See Exhibit F. The simple fact remains: Brown was served and knew about the lawsuit. If she
was not served, how could she know that Plaintiff was suing her as she wrote in her rebuttal to
the chargeback dispute? Furthermore, Jeffrey Howard was not just “an individual” as she claims
in her affidavit, but her boyfriend, business partner, and roommate who admitted he received
mail at the Petaluma, California address in his answer where Ms. Brown was served

Brown Not Onlv Had Actual Knowledge of the Lawsuit, But She Was Properlv Served

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Ms. Brown relies on Empire Services, lnc. v. Kanza, 996 F.2d 1214 (6th Cir. 1993) and
argues that the Court “must” set aside the default judgement if service of process was not proper.
Ms. Brown claims that she has never received mail at 925 Lakeville St #223, Petaluma, CA
94952. See Brown Deel. at ll . Ms. Brown is not being forthright and is playing games with her
address in order to evade the lawsuit or attempt to claim she wasn’t served lt is Assignee’s
position that Ms. Brown did receive mail at this address in California, and thus properly received
service of this lawsuit in 2015 . The point is, the two were living together, Susie Tremblay-Brown
was properly served, and there is no credible evidence to demonstrate that the address at which
the complaint was served was incorrect

Brown cannot make a credible argument that she was improperly served Defendant
Jeffrey Howard states that his mailing address was 925 Lakeville St #223, Petaluma, CA 94952.
Since Brown lived with defendant Jeffrey Howard at the time, as evidenced by her Facebook
posts, Ms. Brown cannot say she did not receive mail at Mr. Howard’s address lt should be
noted that Brown has not produced or set forth a single shred of admissible evidence, other than
her evasive and self-serving declaration, which would support her position that she did not
receive mail at 925 Lakeville St #223, Petaluma, CA 94952. Curiously, Brown does not provide
an affidavit from the individual, Matt Tyler, whose signature appears on the return receipt,
stating that Ms. Brown never received mail at this address

Brown testified that she “had no relationship to that address”. See Page 4, paragraph l of
Brown’s Memorandum in Support, ECF No. 285). Clearly, this is false. Her domestic partner
and business partner, Mr. Howard, admitted he received mail ther'e. lt is perfectly reasonable, if
not probable, for two cohabitating middle-aged adults to both receive their mail at the same

address Her self-serving testimony that she has no connection to that address is entirely

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implausible lndeed, Ms. Brown made no mention whatsoever of her relationship with defendant

Jeffrey Howard in her Motion to Set Aside!

Ms. Brown Did Not Act Promptly or With Reasonable Diligence After Receiving
Notification that her Bank Account had been Levied to Collect this iudgement

Assignee is in the business of judgement enforcement Assignee is the judgement creditor
in this action by virtue of an assignment ofjudgement executed by Plaintiff Crai g Cunningham.
See ECF NO. 255.

After being assigned the judgement, Assignee began a series of efforts to collect on the
judgement On November 20, 2017, Assignee domesticated the judgement to the Court of
Common Pleas of Montgomery County, Pennsylvania, where the foreign judgement was
docketed at 2017-27316. Concurrent with this docketing, the Prothonotary issued a Notice 236 to
Defendant, and Assignee also sent required notices. Assignee obtained several writs of
execution, including one on January 4, 2018. This writ ordered JP Morgan Chase Bank, N.A.
(“Chase”) to hold monies on deposit in Brown’s bank account(s). ln compliance with the writ,
Chase froze $1,159.89 from Brown’s account, on or about January 5 , 2018. See Exhibit E, a copy
of Chase’s answer to the writ of execution dated January 8, 2019, admitting that $1,159.89 was
held nom defendant’s account On January 9, 2018, judgement was entered against the garnishee
for the levied funds, $1,159.89. On or about January 16, 2018, Assignee received a cashier’s
cheque from Chase in the amount of $1,159.89, the amount seized from Brown’s Chase account

Shortly after the levy went into effect, Brown attempted to use her debit card to make a
purchase; due to the levy, her account had insufficient funds. Brown then contacted her bank and
was notified that a legal order had been placed on her account Brown was given Assignee’s
number, 484-626-3942, to call if she had any questions Orr or about January 6, 2018, Brown

called Assignee and went on a tirade, stating that she was “not a party to the party”. Assignee

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told Brown that as a defendant and a judgement debtor in this matter, she was very rrruch “a
party to the party” and told Brown she should contact an attorney. Brown then hung up.

A month passed and Brown did nothing On or about February 10 2018 at 7:40 PM EST,
Assignee called Ms`. Brown and spoke briefly to her about possibly working something out to
resolve the matter, but Brown did not want to talk and hung up.

Brown should have immediately retained counsel in Tennessee to attempt to have the
judgement set aside. Brown filed the instant Motion to Set Aside on June 22, 2018. However,
Brown unquestionably became aware of the judgement when her bank account was levied on or
about January 6, 2018. A total of 166 days have now elapsed, almost six (6) months! Brown
states under penalty of perjury in her sworn declaration that she “immediately. . sought the
services of an attorney” Brown Decl. at 8. Taken in the light most favourable to Brown, the
defendant appears to not understand the meaning of “immediately”. Brown also claian that “j ust
recently” she became aware of the judgement against her. This statement is a misrepresentation
to the Court. ln the best case for Brown, Brown undeniably knew about the judgement no later
than January 6, 2018 when her bank account was levied. As previously discussed, Brown knew
about this matter and was properly served on September 26, 2015; she personally signed a
certificate of service of Jeffrey Howard’s answer to the amended complaint on October 16, 2015,
so she had actual knowledge of the lawsuit in addition to receiving service

Even if Brown did not know that a default judgement had been entered against her in
August of 201 7, this was the result of Brown’s culpable conduct, not Plaintiff’s. Brown, despite
being served with the lawsuit and having knowledge of` this case in 2015, did not notify the court
of any changes to her address (so that she could receive notices ofimportant events from the

court such as entry of judgement). Brown was not_torced to respond to the lawsuit - of course,

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she had the choice to default, if she did not want to fight, but still, she cannot cry foul when she
loses her money as the result of a judgement rendered as a result of her failure to appear or
defend

The Simple fact of the matter and point here is that Brown did not take the matter
seriously when her bank account was levied in early January. She didn’t take it seriously because
she had already known about this matter since 2015, more than two and a half years ago! lnstead
of promptly acting back in January, 2018 when her bank accoturt was levied, Brown did nothing
lf this was her first time learning of this judgement, that “discovery” alone should have been
serious cause for alarm. Brown sat on her rights for nearly six months and only acted when it
was convenient for her to do so. There is no valid excuse for waiting hundreds of days to act.
Brown does not satisfy the Requirements of Rule SS(c) or Rule 60(b) to Vacate the Entry of

Default and Entry of Default judgement

A motion to vacate a judgement under Rule 60(b) must be brought “within a reasonable
time.” Fed.R.Civ.P. 60(0)(1); Gen. Med., 475 F. App'x at 75 (Rule 60(b)(6)); United States v.
Dailide, 316 F.3d 611, 617 (6th Cir.2003) (Rule 60(b)(4)). “The reasonableness of the delay
‘depends on the facts of a given case including the length and circumstances of the delay, the
prejudice to the opposing party by reason of the delay, and the circumstances compelling
equitable relief.’ “ Gen. Med., 475 F.App'x at 76 (quoting Olle v. Henry & Wright Corp., 910
F.2d 357, 365 (6th Cir.1990)). 166 days is not a reasonable amount of time. A few weeks, or
even a month would be considered a reasonable amount of time.

FRCP 60(b)(6) permits relief from a judgment for "any other reason that justifies relief,"
and does not include an outer bound on the time limitation to make the motion. However, the

Su reme Court has limited this catch-all categor to "extraordinar " circumstances (Gonzales v.
P Y Y

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Crosby, 545 U.S. 524, 535 (2005); Liljeber'g v. Heaith Servs. Acquisition Corp._, 486 U.S. 847,
863-64 (1988)). Moreover, an FRCP 60(b)(6) motion must be based on some reason other than
those stated in subsections (1)-(5), and thus cannot be used to circumvent the one-year outer time
limitation provided for subsections (l), (2) or (3) (see FRCP 60(0); Liljeberg, 486 U.S. at 863 &
n.ll; United Airlines, lnc. v. Brien, 588 F.3d 158, 175 (2d Cir. 2009)).

Some courts have held that an FRCP 60(b) motion should be made promptly, with a
"reasonable time" in some circumstances being the time in which a party would have to appeal
(see, for example, Mendez v. Republic Bank, No. 12-cV-2585, , at *8 (7th Cir. July 25, 2013); In
re 310 Assocs., 346 F.3d 31, 35 (2d Cir. 2003)).

lt should be further noted that this Court entered an Opinion and Order on August 15,
2017, granting Plaintiff”s Motion for default judgement Ms. Brown filed the instant Motion to
Vacate on June 22, 2018. A total of 31 1 days have elapsed between these two events Between
October 16, 2015, the date Ms. Brown signed the Certificate of Service of J effrey Howard’s
answer, and June 22, 2018, a total of 980 days have elapsed, more than two and a half years
Two and a half years in not a reasonable amount of time for Ms. Brown to ignore this matter. A
prime function of legal systems is the settling of controversies Settling implies ending, and
ending implies finality. Ordinarily, then, when final judgement is entered in a case, all that
remains is execution, the transmitting of law into force. Accordingly, allowing the judgment to

stand is appropriate under the circumstances

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For the foregoing reasons, Defendant’s Motion to Set Aside Default judgement Should be

DENIED.

Dated: July 6, 2018 /s/James E. Shelton

James E. Shelton

316 Covered Bridge Road

King of Prussia, PA 19406
Phone: 484-626-3942
james@finalverdictsolutions.com

Assignee o/`Record

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CERTIFICATE OF SERVICE
I, JAMES E. SHELTON, do hereby certify that on this 6th day of July, 2018, l served defendant
the following party with the foregoing Response in Oppositiorr to Motion to Set Aside Default

Judgment via first class mail to:

D. GIL SCHUETTE, ESQ.
3322 West End Ave., #200,
Nashville, TN 37203
Attorney for Defendant Susie Tremblay-Brown

ll

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United States District Court
Middle District of Tennessee

Craig Cunningham
Plaintiff, Pro-se

Enagic USA, |nc, et al

)
)
)
) v. Civ Action 3:15-cv-00847
)
)
) Defendants.

Aft`idavit of Craig Cunningham

l. My name is Craig Cunningham, and l am the Plaintiff in this case. l am over the age of 18
and l have never been convicted of a felony or crime of moral turpitude l am writing this
affidavit based on my personal knowledge and in opposition of the motion to set aside the
default judgment against Susie Tremblay-Brown.

2. ln an attempt to identify other individuals that are responsible for the illegal telemarketing
calls h'om Jeffrey l-loward, l agreed to purchase dialing minutes and leads from Susie
Tremblay-Brown who was introduced by Jeffrey Howard in an email dated September 4,
2015 providing the Plaintiffwith Ms. Brown’s phone number of41 5-948- l 6 16. l purchased
services by Susie Tremblay-Brown related to the setup an automated telephone dialing
system with pre-recorded message that was used to market Enagic water systems in the
amount of $156.00.

3. Susie Tremblay-Brown sent a series of instructional emails guiding the Plaintiff step by step
on how to setup and purchase dialing minutes scripts used, how to upload pre-recorded
messages to bigcraig79@hotmail.com. True and correct copies of the emails are attached.

4. In addition, I did a chargeback dispute to my debit card that was used to process the

transactions by Susie Tremblay-Brown to my checking account titled in the name of New

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Country, LLC ending in 6188 in the amount of $156.00. Susie Tremblay-Brown contested
the chargeback dispute and on November 24, 2015, Bank of America provided rebuttal
documentation and a statement from Susie Tremblay-Brown. True and correct copies of the
chargeback and related rebuttal documentation are attached to this document

5. Based on multiple facebook posts and statements from Jeffrey l-loward and Susie Tremblay-
Brown, l knew that the two individuals were dating and living together at the time

6 . l declare under the penalty of perjury that the foregoing is true and correct.

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Plaintiff
5543 Edmondson Pike, ste 248
Nashville, TN 37211
7/7/2018

 

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l . EXHIBIT A

UNITED S'rATEs DIsTRICT COURT

 

 

 

forthe
Middle District of Tennessee

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Craig Cunningham § v r`"
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where § Fi§§ii wl '7 finney
v_ ) civil Aciioii No 3:15-¢».'-00847 -g~jij}i/
Enagie et al )
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SUM]VIONS IN A CIVIL ACTION

To: (Dig‘endant's name and admin Susie Tremb\ay-Brown
925 Lakeville Street #233
Petatuma. CA 94952

A lawmiithasbeeniiled againstyou.

Within 21 days after service of this summons onyou (not counting the day you received it) -~ or 60 days if you
are the Un'md Staties or a United States agency, or an oMcer or employee of the United States described in Fed, K Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintiff an answer'to the attached complaint or a motion under Rule 12 of
the Federal Rnles of Civil Prooedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: C\aig Cunningham

5543 Edmondson Pike ste 248
Nashvi\\e, TN 37211
61 5-348-1 977

Ifyou fail to respond judgment by default Will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the eourt.

CLERK OF COURT

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Aetion No. 311 5-0\1~00467

PROOF OF SERVICE
(This section should not be f led with the court unless required by Fed. R. Civ. P. 4 (I))

'Illis Summons for (name of mdzvzdual and title zf any) §L/§l @ T[`@/W b/Ay /-V /ngW”

was received by me on (date)

D l personally served the summons on the individual at (place)

 

on (daze) ; or

 

[] Ileft the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address', or

El I served the summons on (name ofindividual) , who is

 

designated by law to accept service of process on behalf of (name oforganization)

on (date) ; or

 

l`_'l I returned the summons unexecuted because ; or

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My fees are $ for travel and $ for services, for a total of $ 0_0() .

I declare under penalty of perjury that this information is true

_[0 '~/¢// g (ilill</

£/$zrv¥ 's signature

Marioe\ Forteza
Prin!ed name and little

 

5543 Edmondson Pike stee 248
Nashvil|e, TN 372'!1

 

Server ’s address

Additional information regarding attempted service, etc:

 

 

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EXHIBIT B

United Statee Dietrict Court

Middle District of Tennessee

cASE NUMBER: 3:15~<:\/»00847

 

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cRAIG CUNNINGHAM, PLAINTIFF, PRo sE

V.

 

ENAGIC USA, INC., PETER POLSELLI, TERRY COLLINS, RICK‘FREEMAN,
ANGELA LINER, CHRISTIAN KINNEY, THE 7 FIGURE WEALTH CORPORATION,
CORAZON MANAGEMENT GROUP, INC., JEFFREY HOWARD,

SUSIE TREMBLAY~BROWN, PETER WOLFING, MULTIPLEX SYSTEMS, INC. AND
JOHN/JANE DOES 1~10

VV`_,`_»V`/V\/V

DEFENDANT JEFREY HOWARD'S

ANSWER TO YLAINTIFH" S AMENDED COMPLAINT

1. Defendant Jeffrey Howard files herein it'S Answer to Plaintiff'a
Amended Complainf.

2. Jeffrey Howard (“Howard”) is an individual natural person with a
mailing address of 925 Lakeville Street #233, Petaluma,
California 94952.

3. Howard has no Specifio association with, or knowledge regarding
the accuracy of Plaintiff'e claims with regard to, any other
Defendants in this action as alleged in Paraqraphs 1 through 13
of his Amended Complaint, with the exception of Corazon
Management Group, lnc. (“CMG”), as CMG’S authorized agent,
officer and attorney~in~fact, Susie Tremblay~Brown, an
independent Virtual Assiatant, and Enagic USA, lnc. (“Enagic”),
with which CMG is associated as an independent contractor.

4. It should be noted by the Court that Defendant Howard has not

been Served in this case, but through his association with CMG,

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has specific knowledge of the case being filed, and his being
named as s defendant, and therefore, files this Answer to
Plaintiff’s Amended Complaint in an effort to protect his rights

in this case.

DEFENDANT JEFFREY HOWARD’S RESPONSES

TO PLAINTIFF’S JURISDIC'I‘ION AND FACTUAL ALLEGATION

5. In response to Paragraph 14 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

6. In response to Paragraph 15 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

7. In response to Paragraph 16 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

8. In response to Paragraph 17 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

9. In response to Paregraph 18 of Plaintiff’s Amended
Complsint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

10. In response to Paragraph 19 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific

Knowledge pertaining to, the allegation.

 

 

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In response to Paragraph 20 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, andfor has no specific
knowledge pertaining to, the allegation.

In response to Paragraph 21 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.x

In response to Paragraph 22 of Plaintiff's Amended
Complaint, Defendant Howard DBNIES, and/or has no specific
knowledge pertaining to, the allegation.

In response to Paragraph 23 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the aliegation.

In response to Paragraph 24 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

fn response to Paragraph 25 of Plaintiff’s hmended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

In response to Paragraph 26 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

In response to Paragraph 27 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

In response to Paragraph 28 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific

knowledge pertaining to, the allegation,

 

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20. In response to Paragreph 22 of Plaintiff's Amended
Complsint, Defendant Howard DENISS, and/or has no specific
knowledge pertaining to, the allegation.

21. In response to Peregraph 30 of Plaintiff’s Amended
Compleint, Defendant Howard DENIES, end/or has no specific
knowledge pertaining to, the allegation.

22. ln response to Paragraph 31 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the ellegetion.

23. In response to Peregraph 32 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the ellegation.

24. In response to Paragraph 33 of Plaintiif’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the ellegetion.

25. ln response to Paragraph 34 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, end/or has no specific

knowledge pertaining to, the allegetion.

'26. In response to Paragraph 35 of Plaintiff’s Amended

Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.
27` In response to Paragraph 36 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES and/or has no specific
` knowledge pertaining to, the aliegation.
28. In response to Paragrsph 37 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific

knowledge pertaining to, the ellegation.

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29. in response to Parsgrapn 38 of Plaintifr’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

30. In response to Paragraph 39 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

31. ln response to Paragraph 40 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

32. In response to Paragraph 41 of Plaintiff's Amended
Complaint, Defendant Howard DBNIES, and/or has no specific
knowledge pertaining to, the aliegation.

33. In response to Paragrapn 42 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

34. ln response to Paragraph 43 of Plaintiff's Amended
Complaint, Defendant Howard DENIES, and/or has no specific
knowledge pertaining to, the allegation.

35. In response to Paragraph 44 of Plaintiff’s Amended
Complaint, Defendant Howard DENIES, and/or has no specific

knowledge pertaining to, the allegation.

DEFENDANT HOWARD'S AFFIRMATIVE DEFENSES IN RESPONSE

TQ PLAINTIFF’S AMENDED CGMPLAINT AND CAUSES CF ACTIGN

36. DEFENDANT HOWARD’S FIRST AFFIRMATIVE DEFENSE. Plaintiff has
failed to properly serve Defendant in this case because he

personally mailed a copy of the Snmmons and Amended Complaint via

 

 

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Certified Mail himself, rather than through a Marshal, under
Middle District of Tennessee Local Rule LR4.0l(c). Furthermore,
the USPS postmarks on the envelopes with Plaintiff's service
documents originate from Dallas, Texas, outside the jurisdiction
of the Marshal in the jurisdiction of filing. The document
package received was not properly served, and did not include
Certificate of Service showing proper service on other Defendants
in this action, although clearly other Defendanta were served in
this action prior to Defendant Howard being named in this action.

37. DEFENDANT HOWARD'S SECOND AFFIRMATIVE DEFENSE. Plaintiff
has failed to properly serve Defendant in this case because
Plaintiff neither requested of Defendant, nor moved the Court
for, a proper Waiver of Service, under USDC Rule 4(d).

38. DEFENDANT HOWARD'S THIRD AFFIRMATIVE DEFENSE. Plaintiff has
on numerous occasions, from Various parties, specifically
requested information regarding earning money from home or
Starting a home-based business and as such regularly appears and
reappears on database lists of business opportunity seekers.

39. DEFENDANT HOWARD’S FOURTH AFFIRMATIVE DEFENSE. Plaintiff is
actively seeking out new ways to have his phone numbers appear on
business opportunity phone lists while posing as an opportunity
seeker in a calculated and specific effort to strategically
position himself to file frivolous lawsuits such as the subject
action, in multiple jurisdictions, against multiple defendants,
wasting both the Court's valuable time, and the time of
legitimate businesspeople who are actively supporting the economy

and their families.

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42. DEFENDANT HOWARD’S SEVENTH AFFIRMATIVE DEFENSE. Defendant

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DEFENDANT HOWARD'S FIFTH AFFIRMATIVE DE§ENSE. Plaintiff'§
complaint is frivolous end without legitimate besis, filled with
heersey, opinions, oonjeotdre, assumptions and oonolusione drawn
with the sole intent to support the frivolous nature of this
Complaint, lt is clear from Plaintiff’s allegations that he has a
strong, personal negative association with the home-based
business industry.

DEFENDANT HOWARD’S SIXTH AFFIRMATIVE DEFENSB. On two
separate oocasione, first on July 15, 2015 end again on Angnst
26, 2015, Plaintiff placed an INBOUND telephone call to a
marketing phone nnmber, listened to 25 minutes of recorded
information regarding a epeoifio opportunity end left voicemeil'
messages in both cases, Specifically requesting additional
informetion regarding the details of the opportunity. Defendant
Howard meinteine the original voicemeil recordings of these

requests.

Howard had numerous conversations with Plaintiff, Who indicated
he was en MBA and owned a business eellinq electronic Smoking
peraphernelie. In faot, when aeked directly, Plaintiff also
indicated that he was seeking out additional legitimate
entrepreneurial opportunities. Plaintiff repeatedly and
continuously expressed interest in becoming involved with the
proposed business venture.

DEFENDANT HOWARD'S EIGHTH AFFIRMATIVE DEFENSE. Plaintiff
Speoifioelly indicated interest in the opportunity at every stage
of the metketing end interview process. On approximately

September 2, 2015, Plaintiff also specifically stated: “I’m

 

 

 

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in...what is the next step?” at which point enrollment
instructions and financing options were presented to him through
an email communication. Plaintiff then indicated that he had a
credit score of 720 and, based on that, had applied for a
Comerica VISA card (which incurs zero interest, zero fees for one
year) through the resources provided to him through our
correspondence. He indicated that he had received approval from
Comerice for a credit line of $l0,000 and would place his order
forthwith.

44. DEFENDANT HOWARD’S NINTH AFFIRMATIVE DEFENSE. Plaintiff has
falsely stated in this Amended Complaint that calls placed to him
were to a mobile or cell phone. The telephone number dialed was
615~212-9l91. This was the only number in the telephone system
listed for Plaintiff, and is the number from which he made both
of the inbound calls to our recorded information system as
referenced in Paragraph 40, above.

45. DEFENDANT HOWARD'S TENTH AE`E`IRMATIVE DEFENSE. A GOOgle
search of Plaintiff’s alleged mobile phone number, 615~212~9191,
shows numerous entries indicating that number is listed and owned

by the following business:

Smoke Power Electronic Cigarettes
3601~8 Nolensville Pike
Nashville, TN 37211
Phone: (615) 212~9191
Email: sales@smokepower.com
W@b‘ §§Wi§§i §§l;f§§

    

46. DEFENDANT HOWARD’S ELEVENTH AFFIRMATIVE DEFENSE. A search
of Plaintiff's alleged mobile phone number, 615~212~9191, on

Phonevalidator.com (a trusted and recognized resource for showing

CaSe 311;5§§¥5;@@6§1¥. wenner/ies .F,ile¢i lQll%;l,e PeeeBcof~b/é §’ng€l@ #1 125

 

 

 

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a phone'e etatus as either landline, VOIP or mobile) indicates

the following:

Phone Number: 615~2l2~9191
Date of this Report: October 15, 2015
Phone Line Type: LANDLINE iempnasie added]
Phone Company: BANDWIDTH.COM ~ POSSIBLE GOOGLE VOICE OR OTHER VIRTUAL
PHONE `NUMBER
Phone Location: SPRINGFIELD, TN

 

47. DEFENDANT HOWARD'S TWELFTH AFFIRMATIVE DEFENSE. A Search of
Plaintiff’a alleged mobile phone number, 615#2l2~9191, on
SearonBug.com (another trusted and recognized reeource for
showing a phone’s status as either landline, VOlP or mobile)

indicates the following:

Pnone Number {615) 212»9191 ls Valid

Owner Name: not eearched Find Name

Phone Type: LANDLINB §emphasis added]
Carrier: BANDWIDTH.CGM CLEC (OCN: 124F

Area Code: Tennessee: Nashville, Murfreesboro,
Springfield, Lebanon, Dickson and north central
Tennesseel Split from 901.

Location: SPRINGFLD

Local Calling Area: Nashville TN

Time Zone: Central Daylight Time (CDT)

 

Phone Line Type: Landline vs. Cell Phone ia
approximately 958 accurate. Lees than 58 of numbers
are transferred or ported from landlines to cell
phones or vice versa.

Landline Carrier: approximately 97% accurate. Very few
people transferred their home number to a different
landline carrier.

48. DEFENDANT HOWARD’S THIRTEENTH AFFIRMATIVE DEFENSE.
Plaintiff's phone number is clearly a landline or VOIP number and

is not a mobile phone, therefore, there has been no breach of any

code under the TCPA or violation of 47 USC 227(b) as alleged by

 

 

 

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Plaintiff. Further, Plaintitf's phone number is also listed as a
business phone, not a personal phone, as indicated above,
DEFENDANT HOWARD’S FOURTEENTH AFFIRMATIVE DEFENSE.
Plaintiff had the opportunity at any time to have this number or
any other number automatically or manually removed from any
further marketing call lists and chose to remain in the system,
with the specific ongoing intent of soliciting opportunities to
bring additional frivolous lawsuits.

DEFENDANT HOWARD’S FIFTEENTH AFFIRMATIVE DEFENSE. Plaintiff
has a long and colorful history as a “professional plaintiff,” as
indicated by the continuing and ongoing amendments to this
Complaint, and a history of filing previous complaints in similar
actions, such as Craig Cunningham v. Alliance Security, et al,
Case Number 3:14~0769, filed last year, and as many as twelve
other lawsuits over the past three years. Furtner confirmation of
Plaintiff’s ongoing history and status as a “professional
plaintift" as well as his clearly deceptive “baiting and'
enticement" strategy is bolstered by an article in the Dallas
Observer, dated over five years ago, entitled: “BETTER OFF
DEADBEAT! CRAIG CUNNINGHAM’HAS A SIMPLE SOLUTION FCR GETTING BILL
COLLECTORS OFF HIS BACK. HE SUES THEM,” wherein Plaintiff'e story
of non~payment of his financial obligations led him to searching
for loopholes in the debt collection system in order to escape
those obligations and in fact, seems to take great pride in such
behavior. The article may be found at the following URL:

`obseruerleon/newsfbetter

 

    

 

 

 

 

 

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DEFENDANT HOWARD'S SIXTEENTH AFFIRMATIVE DEFENSE. Defendant
Howard participates only in legitimate and firmly established
marketing opportunities in the direct sales and network marketing
industry, not in “get rich guick” or “pyramid schemes” as alleged
by Plaintiff.

DEFENDANT HOWARD’S SEVENTEENTH AFFIRMATIVE DEFENSE.
Defendant Howard made no product olaims, health claims,
specifically or implied, or guarantees of business viability,
particularly anyone's ability to “make money quickly” either
individually or as an agent of CMG, as claieed by Plaintiff with
regard to other Defendants in this case.

DEFENDANT HOWARD’S EIGHTEENTH AFFIRMATIVE DEFENSE. AS an
agent of CMG, and separately, Howard makes every ongoing
reasonable effort to comply with all applicable regulations
regarding telephone marketing through regular and ongoing
screening of its databases against the national do not call
lists, mobile phone number lists and all available means to
assure it only connects with legitimate and viable seekers of
home~hased business opportunities. Further, Plaintiff has failed
to state that he mas, or has ever attempted to be, on any Do Not

Call list.

54. DEFENDANT HOWARD'S NINETEENTH AFFIRMATIVE DEFENSE. HOWard

has no direct or indirect relationship with any other Defendant
named in Plaintiff’s Amended Complaint, with the exception of its
independent business relationship with Enagic, and it's
relationship with Defendant Susie Tremblay~Brown, who is an
independent Virtual Assistant, contracted only to serve in a

technical support and systems set~up oapacity, and to the best of

 

 

 

 

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Howard’e knowledge, has never placed an automated call tnrough
any system, further evidence that Plaintiff is eimply fishing and
“naming everyone” in his frivolous lawsuits.

55. DEFENDANT HOWARD’S TWENTIETH AFFIRNATIVE§ DEFENSE. Plaintiff
has failed to Show legal standing to bring a civil action in this
case as ne has not been personally damaged in any way, and has
euffered no lose or damaqe, monetarily or otherwise. Plaintiff
nee had multiple opportunities, over the course of many years, to
bring a full stop to any marketing contact from Defendant (or
_anyone elee), simply by automatically or manually requesting to
be removed from any marketind liste, a request which would have
been immediately honored, but which never took place. In$tead,
Plaintiff has chosen to continue his ongoing baiting and
enticement strategy in an effort to bring frivolous lawsuits.

56. DEFENDANT HOWARD’S TWENTY~E‘IRST AFFIRMATIVE DEE`ENSE.
Becauee Plaintiff has no legitimate basis for bringing this
action for damages (as no actual damages have occurred), a civil
action is not justified in this case and, aa euch, Plaintiff’e
action has no civil basis and is brought outside of proper
juriediction, Should any alleged violation of any code
referenced herein actually occur, jurisdiction would fall on the
appropriate regulatory bodies to enforce any euch alleged
violation.

57. DEFENDANT HOWARD’S TWENTY~SECOND AFFIRMATIVE DEFENSE.
Plaintiff has failed to state a specific claim or action by any
Defendant under the TCPA or violation of 47 USC 227(b) for which
he can claim damagee. Plaintiff has only alleged that “multiple

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automated calls” took place.

 

 

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CQNCLUSION

Based upon the foregoing, Defendant Howard, praya for the

following:

l. Tnat Plaintiff takes nothing by his complaint.

2. That Plaintiff receives sanctions for filing frivolous and
unfounded lawsuits against Defendant.

3. That Plaintiff be enjoined from filing further actions against
Defendant Howard on similar qrounde.

4. That Defendant Howard be dismissed with prejudice from the action
herein,

5. Tnat any attorney’s fees incurred on behalf of Defendants be
borne by Plaintiff, including any associated fees and costs.

6. For such other and further relief as the Court may deem proper.
Dated: October 15, 2015

Reepectfully aubmitted:

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Je re§>Howard, Pro Se

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CERTIFICATE OF SERVICE

I do hereby certify that on this the 16th day of October 2015, this Certificate of
Service for

DEFENDANT JEFFREY HOWARD’S
ANSWER TO PLA!NT|FF'S AMENDED »CONSPLA|NT

Was served on all known parties to this action, by U.Sl Mail, postage prepaid
upon:

Served via U.S. Mail:

Craig Cunningham
5543 Edmondson Pike, Ste. 248
Nashville, TN 37211
Plaintiff, Pro Se

Peter Polselli
50 Danes Street
Patchogue, NY 11772
Defendant Pro Se

}. Anne Tipps
STITES & HARBISON, PLLC
401 Commerce St, Ste. 800

Nashville, TN 372 19

Katrina L. Dannheim
STITES & HARBISION, PLLC
400 West Market Street, Suite 1800
Louisville, KY 402()2-3352
Attorneys For Enagic USA, lnc.

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f ,/ Lavenia S. Brown \

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$0,00. live filer certi)ies that this filing complies with the provisions of the Public Access policy of the Unified

Judicia! System of Fennsylvania: Case Records of the Appel/ate and Tn'al Cour!s that require filing confidential infon'nation and documents differently than non-confidential information and documents

Case# 2017-27316-60 Docketed at Montgomery Coun£y Prothonotary on 01/08/2018 3.'09 PM, Fee

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EXHIBIT C
CHASE :l

Court Orders and Levies
P.O. Box 183164
Co|umbus, OH 43218~3164
Phone: 1-866-578-7022

JAMES E SHELTON
316 COVERED BRIDGE ROAD
KiNG OF PRUSS!A, PA 19406

RE: JAMES E SHELTON V. LAVEN|A T BROWN, SUSIE-TREMBLAV BROWN, MUL|TPLEX SYSTEMS iNC Case
No.: 201727316, MONTGOMERY COUNTY CON|MON PLEAS COURT

JPl\/lorgan Chase Bank, N.A. is in receipt 01 your Writ of Execution against the following debtor(s): LAVENiA T BROWN,
SUSlE-TREMBLAY BROWN, MULITPLEX SYSTEMS lNC

Accounts which are held:

Account Number Amount of Ho|d Present Balance
7229 261573.75 1159.89

8562 261573.75 0.00

4696 261573.75 Negative

9262 261573.75 Negative

The Present Balance may be subject to claims which may reduce the amount available to thejudgment creditor,
including without limitation: exemptions asserted by the judgment debtor; rights of third parties asserting an interest in
the account; intervening levies or court orders; lRS levies; right of setoif; deposited items returned against the account
or warranty claims asserted with respect to checks or other items credited to the account balance

Memo: - The funds of the judgment debtor on hold pursuant to this garnishment have been previously restrained subject
to the claims ot the following case(s): N|ONTGOMERY COUNTY COMMON PLEASE COURT CASE NO 201727316.
FUNDS NiAY NOT BE AVAiLABLE

These responses are based upon a search of data contained in .lP|\/|organ Chase Bank, N.A's centralized customer identification and account iniormation
system That system may not necessarily capture ali relevant information concerning the judgment debtor(s) or accounts

Piease allow this letter to serve as JPMorgan Chase Bank, N.A‘s answer to the Writ oi Execution. if you should have any questions regarding this matter.
please contact JPMorgan Chase Banl<, N.A. at 1-866-578-7022,

l declare that the statements above are true to the best ot my iniormation, knowledge and beliei.

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JPMorgan Chase

 

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From: Susie Tremb|ay-Brown <tremblaybrown@gmail.com>
Sent: Wednesday, September 16, 2015 9:56 PM

To: craig

Cc: Jeffrey Howard

Subject: Re; Checking in...

Hi Craig,

We just spoke on the phone; thank you for taking my call. This is a brief follow-up email to
oonlinn that you plan to order leads from your own source, and upload them into your dialer.

I will be in contact soon With your login information for your Enagic marketing system. Thank
you!

Sincerely,
Susie

§a§i.§:Tr€mlz_l§i/~Brown

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Advanced Coinmunication Technologies, CEO
Licensed, and Qertified Sa|es Trainer | Speaker | Coach | Consultant

 

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Discover Your Personal Success Code to
Skyrocket Your Sales and |mprove Your Relationships

   

 

 

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On Mon, Sep l4, 2015 at 4:40 PM, Susie Tremblay-Brown < r m l r n c v 1 >

wrote:
Hi Craig,

set-up.

Thanks !
r)

Susie

Susie Treniblay-Brown

 

 

 

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Please give ine a call when you are ready for me to order your leads so that l can fniish your

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From: Susie Tremb|ay-Brovvn <trernblaybrovvn@grnai|.com>
Sent: Wednesday, September 9, 2015 6:07 PM

To: craig

Cc: Jeffrey Howard

Subject: Re: Enagic Set-up

Hi Craig,

l order the leads for you each time you want them. lupload the first hatch into your dialer
during initial set up of your marketing system. You should start with the ZOK or more. leads
can take 24-72 hours to process. These leads lists are sourced from previously interested
parties of home based and network marketing businesses by the company l order them from.
The lists are scrubbed against the DNC list, and there is an opt-out press 9 on the dialer. The
people called are not yet interested in Enagic, that part is where the marketing system comes
into pay, and then your follow up using the script(s) provided

Would you like for me to order your leads today?

Sincerely,

Susie

"Deliberately seek the company of people who influence you to think and act on building the
life you desire." ~Napoleon Hill

On Sep 8, 2015, at 6:43 Pl\/l, craig <higcrajg ZQ@hQLT_nail,ch> wrote:

Can you tell me about the leads? How do you get them? How do you know they
are interested in enagic? How do you deal with issues of consenting and the DNC
list?

 

From: t_i'embla ybrown@ginail,com
Date: Tue, 8 Sep 20l5 14:40:47 -0700

Subject: Enagic Set~up
To: bi gcraig ZQ@thmail,QQm
CC: mastennindmentor@gmail_QQm

Hi Craig,

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Can l go ahead and get your leads ordered today? Please let me know so that l can
get you up and rolling with your marketing system.

Have a great day!

Sincerely,
Susie

Susie Tremblay-Brown

 

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Advanced Connnunication Technologies, CEO
Licensed, and Certified Sa|es Traineri Speaker | Coach | Consultant

 

 

 

 

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Amourrt: $l:‘i(r.t`ltl C¥alm rrzunbrtr: 1310151()6432 Account ending irr: 6l88

NEW COUNTRY LLC:

We've completed our review of this claim and have determined that 110 error has occurred in this instancel

 

What you need to know

the merchant has provided documentation in rebuttal to your dispute irrdlcatin<> services were rendered Should
you wish to lumber dispute thc trarisactiou(s`) please provide 1111 updated statement ul dispute which addresses all
aspects ol` tire merchants rebutt al and include documents us support your claim A copy ul the 111ertha!1ts
doctunentutiou rs attached for your review

As a result the retirporary credit for 3156()0131;11 was previously rpplied to your account will be reversed on

December 091 2015. Additiunatly any credit thai was applied to your account for the reimbursement el fees
related lo this claim will he reversed We now consider this disputed transaction closed

We're here to help

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We appreciate the opportunity to serve you and your linancial needs lt you hare any questions 111 would like to .,‘ b
request copies ot the documents we retried orr m reach this clecrsion, plc ise call us 211877. 337 42 t) Mondzry §
thwale riday from 7 a m to 10 p m and Saurrday and Sun‘day' t`rom l~} a m to 5 p m. local time l'or laster
service please have your cl aim number Acccss lD and l`*lN at uilahle

Deposit and Payruem titanst

 

 

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